
This day this cause came on to be heard upon the pleadings, the agreement of counsel as to controlling facts, and was argued by counsel and submitted *535to the court, and the court being fully advised in the premises, find on the issue joined for the defendants, for the reason that under the charter provision of the city of Cincinnati, the term of office of vice-mayor elected at the November' election, 1917, is for the term of four years commencing the first day of January next after such election; that the provision of such charter fixing the term of vice-mayor of Cincinnati is valid and not in conflict with any of the provisions of the constitution of this state or of the United States, and that for this reason there is at this time no vacancy in the office of vice-mayor of Cincinnati to be filled by election or otherwise.
It is therefore considered and adjudged by the court, that a peremptory writ of mandamus as prayed for by the relator be refused; that the petition of the relator be dismissed, and that the defendants go hence without day and recover from the relator their costs expended in this action.

Writ denied.

Nichols, C. J., Jones, Matthias, Johnson, Donahue, Wanamaker and Robinson, JJ., concur.
